        Case 1:22-cv-21444-JLK Document 5 Entered on FLSD Docket 05/19/2022 Page 1 of 1

AO 440 (Rev. 12/09) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                                  for the
                                                     SouthernDistrict
                                                  __________ Districtof
                                                                      of__________
                                                                         Florida

                   PURIFICACION CAOILI
                                                                    )
                                                                    )
                             Plaintiff
                                                                    )
                                v.                                  )       Civil Action No. 1:22-cv-21444-JLK
        NCL (Bahamas) Ltd., a Bermuda Company                       )
              d/b/a Norwegian Cruise Lines                          )
                            Defendant
                                                                    )


                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) NCL (Bahamas) Ltd., A Bermuda Company
                                         d/b/a Norwegian Cruise Lines
                                         by serving its Registered Agent,
                                         Daniel S. Farkas, Esq.
                                         7660 Corporate Center Drive
                                         Miami, FL 33126


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                         PAUL M. HOFFMAN, ESQ.
                                         HOFFMAN LAW FIRM
                                         2881 East Oakland Park Blvd. Suite 104
                                         Fort Lauderdale, FL 33306


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


Date:             05/19/2022
                                                                                         Signature of Clerk or Deputy Clerk


                                                                                                        s/ Ketly Pierre
